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                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA
____________________________________

BASHIR YUSUF JAMOH,                          :
     Plaintiff,                              :
                                             :
               v.                            :               No. 5:22-cv-3070
                                             :
JACKSON UDE,                                 :
      Defendant.                             :
____________________________________

                                           ORDER

       AND NOW, this 12th day of August 2022, upon review of the record, the Court having
determined that this case was improperly designated by Plaintiff’s counsel as related to Wabote
v. Ude, Civil action 21-2214 and Sylva v. Ude, Civil action 21-4102,1 it is hereby ORDERED
that the Clerk shall follow the Court’s procedure for random re-assignment of civil cases.


                                                      BY THE COURT:


                                                      /s/ Joseph F. Leeson, Jr._________
                                                      JOSEPH F. LEESON, JR.
                                                      United States District Judge




1
      This case does not involve “the same issue of fact or grow out of the same transaction” as
Wabote or Sylva.
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